                          EXHIBIT 3-A:
                 BON Report Page(s)


  • Brixon interfered with cancellation of ABG test
    • ECU reported White's death as "not clear."




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                          Attorney Work Product - Privileged Communication
                                       Internal Working Notes

Licensee Nam~thers Brixon       License: NC RN                      Certificate Number: 115824
Date of Btrth: - -   Phone Number.
Home Address:   ?S 2  I ii c Greenville, NC 27858

Compact License: multi-state        Other States of Licensure: none
Date Last Licensed: 07/16/2013       Initial Licensure: 08/14/1991            Expiration Date: 08/31/2015
License/List# for other license types: LPN Cert#: 39692 (1990)

Nursi,:ig Degree(s): AON       Year earned: 1991

Prior disciplinary action by BON?             No

Complainant: Linda Hofle,r, RN, Sr. VP Nurse Executive         Phone number: 252-847-5243
Facility: Vidant Medical Center    Area of practice: Med/Surg    ..
Dates of Employment: 6/7/1999 - 5/30/2014        Employed: weekend option
Previously identified practice deficits/counseling: None
Date of incident: 5/9/2014 Shift working at time of occurrence: 7p-7a Assignm~nt: 5 patients
Type of assignment: Direct patient care Incident involved: 1 patient Patient Age: 26
Patient Diagnosis(es): Systemic Lupus, Perineal/perianal abscesses, acute and chronic kidney injury
Patient Outcome: expired
Date of Complaint received: 06/02/2014
Individuals with direct knowledge of incident: Cardiac Monitoring Tech
Practice Concerns/Deficits/Allegations reported: Neglect Failure.to assess/evaluate and
Withholding Crucial Health Care Information

Employer findings: Risk Management was notified that on the night shift of 5/9/2014, Licensee failed to
intervene or act when notified multiple times by a cardiac monitoring tech that the patient was off the
monitor.

Carla Owens, Office of General Council for Vidant Medical Center was contacted for additional
information regarding their investigation of the reported event. Ms. Owens reported patient KVt/ had been
admitted to the hospital on April 16, 2014. On May gill Ms. Brixon was assigned as the patient's primary
nurse on the night shift {7p-7a). Around MN it was reported the patient was confused, pulling off cardiac
leads, crawling out of bed and had pulled out her Foley catheter (bulb intact). Ms. Owens reported this
was a significant change in condition for this patient. An order for restraints (vest and bilateral wrist) was , /
received from the NP on call. In addition a new order for ABG's was given; however, Ms. Brixon r~: (          i::_
contacted the NP and received orders to delay the lab test due to the patient having calmed down0

Ms. Owens stated the cardiac monitoring tech had noted contacting Ms. Brixon {10 times) and the Unit
Secretary (3 times) between MN and 05:55a to alert the nurse the patient was not on the cardiac
monitor. The last monitor strip was recorded at 11 :32p. Each time Ms. Brixon spoke wltt) the tech she
explained the patient had either removed the leads or was refusing to be monitored. Ms. Owens stated
Ms. Brixon admitted she had walked by the patient's room and determined she was sleeping; however,
Ms. Brixon did not record an assessment of the patient. Around 05:55a, a Care Partner entered the
patient's room and noted the patient was cold and non-responsive. A code was called, the patient was
resuscitated and transferred to MICU where she expired several hours later (1:02 p). The cause of death
was reported as "not clear".

Ms_ Owens reported Ms. Brixon was unable to identify anything she did or did not do thal contributed to
the outcome of this patient. She stated that this was Ms. Brixon's first night on duty after having been off




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